    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 1 of 19 Page ID
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                         Exhibit 1-U
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment



              U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                         Exhibit 1U
                                                         White Decl. ISO Disney's SJ Motion P.0399
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 2 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0400
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 3 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0401
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 4 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0402
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 5 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0403
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 6 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0404
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 7 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0405
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 8 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0406
    Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 9 of 19 Page ID
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                                                                                 Exhibit 1U
                                                 White Decl. ISO Disney's SJ Motion P.0407
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 10 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0408
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 11 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0409
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 12 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0410
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 13 of 19 Page ID
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                           #:33296




                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0411
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 14 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0412
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 15 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0413
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 16 of 19 Page ID
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                           #:33299




                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0414
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 17 of 19 Page ID
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                           #:33300




                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0415
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 18 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0416
   Case 2:15-cv-05346-CJC-E Document 469-43 Filed 12/10/20 Page 19 of 19 Page ID
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                                                                                Exhibit 1U
                                                White Decl. ISO Disney's SJ Motion P.0417
